      Case 1:22-cr-20104-JEM Document 239 Entered on FLSD Docket 04/18/2023 Page 1 of 1
                                  CO URT M INUTES                                     Page 1

                               M agistrate Judge Lauren F.Louis
                  AtkinsBuildingCourthouse-11thFloor                     Date:4/18/23       Time:11:00a.m.
Defendant: FederickJosephBergmann,Jr. J#: 44293-510 Case #: 22-cr-20104-M artinez
AUSA: AndreaGoldbarg/M onicaCastro                  Attorney: Henry Bell(CJA)
Violation: Conspiracy to Com m itOffensesAgainstthe U.S.;Sm uggling goodsfrom the U.S.
Proceeding:Bond Hearingre:Revocation ofPretrialRelease      CJA Appt:
Bond/PTD Held:C Yes C No            Recommended Bond:
BondSetat:$1,500,000.00 Psb                                 Co-signed by:
 1-- surrenderand/ordonot
                       ' obtainpassports/traveldocs                Language'
                                                                           . English

 Np ReporttoPTSasdirected/or               x'saweek/monthby Disposition:
      phone:         x'saweek/monthinperson                        Bond Hearin Jle/d;uspo Jason
      Random urine testing byPretrialierWces                       Robertspresent;USPO KariM urray
      Treatm entcsdeem ed necesscry                                                              .
 NV                                                                (Tampa)(ontelephone),
      Refrainorabstuinfrom useofulcohol
 NV Participateinmentulheulthassessment&treatmentctDoctor's y,ecourtordersDefendantreleased
      Recommendution                                               on tj)epreviouslyimposed bond of
 Nr Maintainorseekfull-timeemployment/education                    lysoosooo.oopsb (no additionalbond
 Nr Nocontactwithvictims/witnesses                                  gperworkwasexecuted)
 NV Nofirearms
 UI
  I-- Nottoencumberproperty
 NC Maynotvisittransportationestablishments
 /3 HomeConfinement/ElectronicMonitoringand/or
 -


      Curfew           pm to          am ,paid by

 I-
  r---lAllowances:Medicalneeds,courtappearances,attorneyvisits,
       religious,em ploym ent
                                                                     .




 Nr Travelextendedto:                                               fromSpeedyTrialclock
 NV Other:Complyw/ullexistingconditionsofPretrialRelease
NEXT COURTAPPEARANCE   Date:            Tim e:           Judge:                         Place:
Report RE Counsel:
PTD/BondHearing:
Prelim/ArraignorRemoval:
StatusConference RE:
D.A.R. 11:04:01                                                   Tim e in Court: 2 hrs.30 m ins
